 Case 2:20-cv-11181-CAS-JPR Document 86 Filed 04/11/22 Page 1 of 1 Page ID #:1691

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES - GENERAL
 Case No.          CV20-11181-CAS(JPRx)                                               Date   April 11, 2022
 Title             NEMAN BROTHERS AND ASSOCIATES, INC. v. INTERFOCUS, INC. DBA
                   WWW.PATPAT.COM; ET AL. [AND RELATED COUNTERCLAIM]



 Present: The Honorable            CHRISTINA A. SNYDER, U.S. DISTRICT JUDGE
                Catherine Jeang                             Laura Elias                               N/A
                 Deputy Clerk                        Court Reporter / Recorder                     Tape No.
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                          Chan Jeong                                                  Mark Lee
 Proceedings:                 ZOOM STATUS CONFERENCE


       Hearing held by Zoom and counsel are present. The Court confers with counsel, as
stated on the record. The Court sets a Further Status Conference on July 11, 2022, at
11:00 A.M.




                                                                                             00      :        14

                                                               Initials of Preparer                CMJ




CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                      Page 1 of 1
